             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION
               CRIMINAL CASE NO. 2:14-cr-00021-MR


UNITED STATES OF AMERICA,       )
                                )
              Appellee,         )
                                )
                                )
              vs.               )                    MEMORANDUM
                                )                     OF DECISION
                                )
DAVID FRANK CRISP,              )
                                )
              Appellant.        )
_______________________________ )


     THIS MATTER is on appeal to the Court from the Magistrate Judge

based upon the Notice of Appeal [Doc. 2] filed by Appellant David Frank

Crisp (herein “Defendant”).

                     PROCEDURAL BACKGROUND

     The United States Attorney named the Defendant, together with his

son David Chadwick Crisp (“Chad Crisp”), in a Bill of Information. [Doc. 1].

The U.S. Attorney charged the Defendants in Count Seven with the petty

offense of placing processed food products as bait in an area that had an

open season for taking black bears, and aiding and abetting one another.

The verbatim charge states:



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                                  COUNT SEVEN

              On or about August 31, 2011, in the special territorial
       jurisdiction of the United States, that is, the Nantahala National
       Forest, in Graham County, within the Western District of North
       Carolina, and elsewhere, the defendants,

                           DAVID CHADWICK CRISP,
                                    and
                            DAVID FRANK CRISP,

       did knowingly and intentionally place processed food products as
       bait in an area with an open season for taking black bears, and
       did aid and abet one another in the commission of such offense,
       in violation of North Carolina General Statute § 113-291.1(b)(2)
       and § 113-294(r), and 15A North Carolina Administrative Code
       10D.0103(d).

             All in violation of 36 C.F.R. Section 261.8(a), and 18 U.S.C.
       Section 2, a petty offense.

[Id. at 4]. 1

       The Defendant proceeded to trial before the Magistrate Judge on

October 7, 2014.        Following the close of the Government’s case, the

Defendant moved for acquittal on Count Seven arguing that the Government

failed to prove two essential elements of the offense beyond a reasonable

doubt: (1) that Graham County had an open bear season in 2011 [Doc. 9-2




1 The U.S. Attorney also charged the Defendant in Count Eighteen with the petty offense

of aiding and abetting Chad Crisp in the gathering, removing, digging, disturbing, and
possessing of ginseng in and from the Great Smoky Mountains National Park in violation
of state and federal law. [Doc. 1 at 9]. The Magistrate Judge acquitted the Defendant of
that charge. [Doc. 9-2 at 170].
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at 48-52; 76]; and (2) that the Defendant was engaged in any activity

prohibited under 36 C.F.R. Section 261.8(a). [Doc. 9-2 at 46; 53]. Regarding

the Defendant’s first argument, the Government conceded that it did not offer

proof that Graham County had an open bear season in 2011 but argued that

the Magistrate Judge could take judicial notice of this “legislative fact.” [Id.

at 60]. Alternatively, the Government argued that it would be permissible for

the Magistrate Judge to allow it to reopen its case to offer evidence of this

fact. [Id. at 74]. The Magistrate Judge consulted the North Carolina Wildlife

Resources Commission’s hunting regulations effective August 1, 20112, and

determined Graham County had an open bear season in 2011. [Id. at 61-63].

He then concluded, “I think this is something I could take judicial notice of[.]”

[Id. at 76]. Out of an abundance of caution, however, the Magistrate Judge,

over the Defendant’s objection, also allowed the Government to reopen its

case to put on this evidence. [Id.].

      Regarding the Defendant’s second argument, the Government

asserted that ample evidence existed to convict the Defendant of violating

36 C.F.R. Section 261.8(a) on the basis that he both “hunted” and “molested”


2 15A N.C. Admin. Code § 10B.0202 (effective Aug. 1, 2011, to July 31, 2012), which

Magistrate Judge examined, stated: “(a) Open Seasons for bear shall be from the: (1)
Monday on or nearest October 15 to the Saturday before Thanksgiving and the third
Monday after Thanksgiving to January 1 in and west of the boundary formed by I-77 from
the Virginia State line to the intersection with I-40, continuing along I-40 west until the
intersection of NC 18 and NC 18 to the South Carolina State line.” [Doc. 9-2 at 61-62].
                                            3
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bears.   [Doc. 9-2 at 70; 92; 155].        The Magistrate Judge denied the

Defendant’s motion for acquittal, concluding that:

            THE COURT: All right. I'm going to deny the Rule 29
      motion. I think the evidence fits within the 36 CFR regulation
      which reads: "The following are prohibited to the extent federal
      or state law is violated. (a) Hunting, trapping, fishing, catching,
      molesting, killing, or having in possession any kind of wild
      animal.” The evidence here is that the processed food, candy --
      chocolate -- was placed as bait in Graham County, which is an
      area of the state where the Wildlife Resources Commission has
      set an open season for the taking of Black Bear. And the purpose
      of that was to either hunt, trap, catch, kill, or have in possession
      or molest the bear by getting them, the bear, being no longer
      used to eating their natural foods. They know there's a steady
      source of food for them to get at the -- where the bear -- the bait
      was placed.

[Doc. 9-2 at 93-94].

      Ultimately, the Defendant was convicted of the charge alleged in Count

Seven on October 9, 2014. [Doc. 9-2 at 170]. Magistrate Judge Howell

sentenced the Defendant to 90 days imprisonment and a $2,000 fine. [Doc.

1-1]. The Magistrate Judge entered his Judgment on October 15, 2014. [Id.].

The Defendant timely filed his Notice of Appeal that same day. [Doc. 2].

                         FACTUAL BACKGROUND

      David Webb, an officer with the law enforcement division of the

Georgia Department of Natural Resources, testified that he was assigned to

act in an undercover capacity for the joint federal/state investigation known

as “Operation Something Bruin.” [Doc. 9-1 at 17]. Brian Southard, a criminal
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investigator with the United States Forest Service, was the Forest Service’s

case agent for Operation Something Bruin and worked with Webb in this

matter. [Id. at 168-70]. According to Southard, Operation Something Bruin

was a multi-agency investigation into “various crimes related to illegal bear

hunting, such as illegal outfitter, guiding, the sale and possession of bear

parts, the illegal baiting of bears, those sorts of things.” [Id. at 169].

      In furtherance of their investigation, Webb and Southard traveled to

Bryson City, North Carolina, in 2010 and visited sporting goods stores to

inquire who in the area might be able to take them bear hunting. [Id. at 57-

59]. The name they received was one Chad Crisp and the men were

provided a telephone number and information that Chad Crisp could be

found at the Panther Creek boat dock on Fontana Lake. [Id. at 59]. Webb

and Southard traveled to the boat dock in July of 2010 and met the

Defendant and Chad Crisp there. [Id.]. Webb told the Crisps that his name

was David Williams, that he had moved up from Blairsville, Georgia, that he

was in the lawn care business, and that he “was looking to go bear hunting[.]”

[Id. at 60]. Webb engaged in various activities with Chad Crisp thereafter in

2010. [Id. at 63]. In response to being asked what kind of activities, Webb

testified, “Hunting. And visits to – well, between that time, hunting and visits




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to bring dog food and purchase dogs and different things like that.” [Id. at

18].

       In August of 2011, Webb continued his hunting activities with Chad

Crisp. [Id. at 63]. On August 25, 2011, Webb traveled to Chad Crisp’s home

to bring him some dog food.      [Id. at 18]. While at the home, Chad Crisp

showed Webb a 55-gallon drum but Webb did not look inside the drum on

that visit to see what it contained. [Id. at 19]. On August 31, 2011, Webb

returned to Chad Crisp’s home in order “to put out bait … [o]n the lake.” [Id.

at 19-20]. Chad Crisp showed Webb the same drum, which according to

Webb’s testimony, “looked like M&Ms, a combination of M&Ms and

chocolate waste.” [Id. at 20]. Webb shoveled some of the chocolate waste

from the drum into a 5-gallon bucket filling it. Webb then placed the bucket

in the back of his truck and he and Chad Crisp drove down to the boat dock

located behind Chad Crisp’s home. [Id. at 22]. Webb took the bucket from

his truck and carried it to the boat dock where he set it down. [Id.]. The

Defendant then arrived at the dock with his dog, “Cowboy.” As the Defendant

and his dog walked past the bucket filled with chocolate waste, the

Defendant said, “There’s you some bear bait, Cowboy.” [Id. at 22-23].

       Webb and Chad Crisp put the bucket in a 20 to 24 foot pontoon boat

[Id. at 33] and then the three men traveled across a portion of Fontana Lake

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in the boat piloted by the Defendant. [Id. at 23]. The Defendant beached

the boat in a cove and then Chad Crisp and Webb got out of the boat, Webb

carrying the bucket of chocolate waste with him. [Id. at 24]. On land, Webb

followed Chad Crisp, who was walking parallel with the shoreline of the lake,

approximately 50 yards toward the head of the cove.             The men then

ascended into the tree line where Chad Crisp showed Webb a black, 55-

gallon drum bolted to a tree. [Id. at 26-27]. Next to the drum was a wooden

barrel top and a wire frame, “like a fan frame cover,” lying on the ground with

an orange cord, similar to a string-trimmer cord, tied to the fan frame. [Id. at

27]. Webb and Chad Crisp emptied the 5-gallon bucket of chocolate waste

into the drum attached to the tree. [Id.]. Then, according to Webb,

      The wire frame, fan frame, was put on top of the drum, and the
      other end of the weed eater cord was attached to a magnet and
      a dog collar which was secured to a tree, a small tree. And Chad
      Crisp had told me to, you know, knock the fan cover off.

[Id.]. When Webb knocked the fan frame off of the barrel, the cord tied to

the frame pulled the magnet out of the dog collar. [Id. at 32]. Following this

series of events, Webb reassembled the barrel components as before and

then he and Chad Crisp walked back to the boat. [Id.].

      The Defendant was still at the boat when the two men returned. [Id.].

Webb and Chad Crisp boarded the boat and the Defendant began piloting

the boat back to the dock. [Id. at 33]. Along the way, the Defendant’s boat
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passed by another boat carrying a person whose first named was Owen.

[Id.].    Owen asked Chad Crisp if he had put out any bear bait and Chad

Crisp responded that the barrel “was empty and we reloaded it.” [Id. at 39].

Following this short conversation, Webb, Chad Crisp, and the Defendant

returned to the dock in the pontoon boat and that ended Webb’s involvement

with the Defendant and Chad Crisp that day. [Id.].

         On the evening of September 7, 2011, Chad Arnold, an investigator

with the North Carolina Wildlife Resources Commission, rode with Webb to

Chad Crisp’s home. [Id. at 95; 119]. Like Webb, Arnold’s participation in

Operation Something Bruin was that of a covert agent portraying a citizen

interested in hunting activities. [Id. at 95]. Webb and Arnold went to Chad

Crisp’s home that night to participate in a bear hunt. [Id. at 96]. Chad Crisp

piloted a boat from his boat dock and transported the group to the cove

where he and Webb were taken previously by the Defendant on August 31,

2011, to “reload” the bait barrel. [Id.]. The Defendant, however, was not

present and did not participate in any of the activities on the evening

September 7, 2011. [Id. at 118]. Before beaching the boat in the cove, the

men “were sitting on the water listening for the dog collar to go off. Over a

period of time, the tracking device went off indicating that there was activity

at the bait barrel.” [Id. at 96]. Upon learning that the tracking device had

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been tripped by someone or something removing the fan frame from the bait

barrel, the men beached the boat and proceeded to the bait barrel. [Id. at

97]. There, the men found a black bear up the tree to which the bait barrel

was bolted. [Id.]. The treed bear was killed that evening by Chad Crisp

under grossly inhumane circumstances.3 [Id. at 125].

       As its last witness, the Government called Trey Harter, a land surveyor

with the U.S. Forest Service. [Id. at 197]. The Magistrate Judge, without

objection, qualified Harter to testify as an expert witness in the field of Forest

Service surveying. [Doc. 9-2 at 5]. Ultimately, Harter opined that the tree to

which the bait barrel was attached is located upon lands that are within the

ownership and control of the United States Forest Service. [Id. at 39-40].

                              STANDARD OF REVIEW

       The Court has jurisdiction for this appeal pursuant to 18 U.S.C. § 3402,

and the scope of the appeal is the same as the review of a district court’s

judgment by a court of appeals. Fed.R.Crim.P. 58(g)(2)(D).




3 Finding the bear in the tree with the bait, Chad Crisp shot it twice, once in the leg and

once in the shoulder. It then fell from the tree and “rolled and continued to roll down
towards the lake. Mr. Crisp then took out a box cutter from his pocket and started stabbing
the bear in the head. He then took a stick and started poking it in its wound, and it was
screaming and yelling. The bear then continued to roll down to the lake. It was definitely
suffering, and at that point Mr. - - R.F.C. Webb said I’ve got a pistol in my backpack. Chad
Crisp took the pistol and shot the bear in the head while it was in the lake.” [Doc. 9-1 at
125-26].
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                                DISCUSSION

      On appeal, the Defendant raises four issues in this Court. Two issues,

he claims, relate to the sufficiency of the evidence supporting the

Defendant’s conviction, the third issue concerns the admissibility of certain

evidence, and the final issue is one already resolved by the Supreme Court

which the Defendant raises to preserve in an effort to persuade the Supreme

Court to reconsider its prior holding.

I.    Sufficiency of the Evidence of Open Bear Season.

      The Defendant contends, in his first argument, that the Government,

prior to resting, “fail[ed] to put on any evidence that there was an open bear

season in Graham County in 2011.” [Doc. 9 at 4].       Further, the Defendant

argues that the Magistrate Judge committed reversible error by allowing the

Government to reopen its case, after his Rule 29 motion for acquittal, to

introduce evidence establishing the alleged missing fact.          [Id. at 5]. In

response, the Government asserts that it was proper for the Magistrate

Judge to allow it to reopen its case to establish if Graham County had an

open bear season in 2011. [Doc. 10 at 9]. Alternatively, the Government

argues that the Magistrate Judge could take judicial notice of the “legislative

fact” that Graham County indeed had an open bear season in 2011. [Id. at




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11]. The Court concludes that Magistrate Judge Howell committed no error

with regard to this issue.

      To put the Defendant’s argument on this issue into perspective for its

analysis, the Court must examine first how the statutes cited in the

Information interact, and second the manner in which a court could take

judicial notice of the “open season” fact at issue.

      As set forth above, Count Seven alleged that the Defendants placed

processed food products as bait in an area with an open season for taking

black bears, and aided and abetted each other, all in violation of North

Carolina General Statute §§ 113-291.1(b)(2) and 113-294(r), 15A North

Carolina Administrative Code § 10D.0103(d), and 36 C.F.R. § 261.8(a).

Under the federal regulation, 36 C.F.R. § 261.8(a), it is a petty offense, to

the extent any state or federal law is violated, for any person while on U.S.

Forest Service lands to hunt, trap, fish, catch, molest, kill, or possess any

kind of wild animal, bird, or fish, or take the eggs of any such bird. The

elements of 36 C.F.R. § 261.8(a) make it unlawful for any person to: (1) on

U.S. Forest Service lands (2) hunt, or trap, or fish, or catch, or molest, or kill,

or possess any kind of wild animal, or bird, or fish, or take the eggs of any

such bird (3) if such action would violate any state or federal law. Since the

manner or means components enumerated in element (2) are written in the

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disjunctive, the regulation may be violated in numerous distinct ways. The

facts adduced at trial, taken in the light most favorable to the Government,

tend to show that the Defendant’s role in the offense was that of an aider and

abetter. 18 U.S.C. § 2.            The Court therefore turns to North Carolina

substantive law to examine what state law the Defendant may have aided

and abetted Chad Crisp in violating.

       The 2011 version4 of North Carolina General Statute section 113-

294(r) made it unlawful to:

       place processed food products as bait in any area of the State
       where the Wildlife Resources Commission has set an open
       season for taking black bears. For purposes of this subsection,
       the term “processed food products” means any food substance
       or flavoring that has been modified from its raw components by
       the addition of ingredients or by treatment to modify its chemical
       composition or form or to enhance its aroma or taste. The term
       includes substances modified by sugar, honey, syrups, oils,
       salts, spices, peanut butter, grease, meat, bones, or blood, as
       well as extracts of such substances. The term also includes
       sugary products such as candies, pastries, gums, and sugar
       blocks, as well as extracts of such products. Nothing in this
       subsection prohibits the lawful disposal of solid waste or the
       legitimate feeding of domestic animals, live-stock, or birds. The
       prohibition against taking bears with the use and aid of bait shall
       not apply to the release of dogs in the vicinity of any food source
       that is not a processed food product as defined herein.




4 All citations herein to North Carolina law reference the provisions in effect on August 31,

2011, the date of the Defendant’s offense.



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N.C. Gen. Stat. § 113-294(r) (2011) (emphasis added).5 “To take” game is

defined quite expansively in North Carolina and means “[a]ll operations

during, immediately preparatory, and immediately subsequent to an attempt,

whether successful or not, to capture, kill, pursue, hunt, or otherwise harm

or reduce to possession any fisheries resources or wildlife resources.” N.C.

Gen. Stat. § 113-130(7) (2011).

       Harmonizing the proof necessary to obtain a conviction under these

statutes yields the Government’s theory of prosecution that it pursued in

trying the Defendant: by dumping approximately five gallons of chocolate

waste into the barrel with a cover rigged with a transmitter and attached to

the tree on Forest Service lands in Graham County, Chad Crisp was illegally

placing processed food products as bear bait. Further, because the Wildlife

Resources Commission had set an open season for taking black bears in

that “area,” Chad Crisp was prohibited from baiting bears there. Also, Chad

Crisp’s conduct of bear baiting in this manner could be either “hunting,” since

taking bear under state law includes all operations immediately preparatory


5 Section 10D.0103(d) of Title 15A of the North Carolina Administrative Code is the
unprocessed food product regulatory embodiment of the anti-baiting statute applicable
only to bears. In pertinent part, the 2011 version of the regulation stated: “No person shall
place, or cause to be placed on any game land, salt, grain, fruit, or other foods without
prior written authorization of the commission or its agent. A decision to grant or deny
authorization shall be made based on the best management practices for the wildlife
species in question. No person shall take or attempt to take any game birds or game
animals attracted to such foods.” 15A N.C. Admin. Code § 10D.0103(d) (2011).
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to the successful capture and killing of a black bear (that occurred one week

later), or “molesting,” since the placement of processed food products lures

bears from their natural habitat and interferes with their ingestion of a normal

diet. Finally, the Defendant aided and abetted Chad Crisp by chauffeuring

him by boat to and from the bait site knowing that Chad Crisp was going to

“reload” the barrel with a substance the Defendant had acknowledged he

knew to be bear bait.

      The primary question thus raised by the Defendant concerns the

procedure by which element (3) of this criminal offense may be proven: may

the Court take judicial notice of whether Graham County had an open bear

season in 2011 in order to establish that element?             If so, a secondary

question arises as to whether the Magistrate Judge followed the proper

procedure in noticing the fact. If the answer to either of the preceding

questions is no, then an alternative question arises as to whether the

Magistrate Judge erred in permitting the Government to reopen its case and

establish the fact by competent evidence.

      The Government argues that the evidentiary rule pertaining to judicial

notice, Rule 201, is inapplicable in this case. Federal Rule of Evidence 201,

by its very terms, “governs judicial notice of an adjudicative fact only, not a

legislative fact.” Fed.R.Evid. 201(a). Because determining whether Graham

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County has an open bear season is easily accomplished by resorting to the

North Carolina wildlife regulations (as the Magistrate Judge did in this

matter), the Government argues this fact is necessarily legislative and not

adjudicative, citing United States v. Lavender, 602 F.2d 639, 641 (4th Cir.

1979) (judicially noticing that Blue Ridge Parkway was within the special

maritime and territorial jurisdiction of the United States).

      The Defendant’s objection to the Magistrate Judge taking judicial

notice was not substantive; it was procedural:

      The government had their opportunity and it’s just it’s a simple
      thing to do. They could have put on one of the elements that
      there was an open bear season. And my point is this. He could
      have asked you to take judicial notice of that at any time until he
      rested.

[Doc. 9-2 at 75]. If the fact of Graham County’s open season is legislative,

then the procedure of Rule 201(d) is inapplicable and the Defendant’s

objection must be overruled. But even if the fact were adjudicative the

objection would still have to be overruled. The Magistrate Judge sufficiently

complied with the procedural requirements of Rule 201(d). That rule permits

a court to take judicial notice in a criminal matter “at any stage of the

proceeding” prior to the jury receiving the case. Judicial notice was taken at

the end of the Government’s case and clearly before the trial was over. The

Magistrate Judge was both the presiding judicial officer and the finder of fact.

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No jury instruction dictated by Rule 201(f) was required. The Magistrate

Judge took such notice before acting to decide the case. As such, his act of

taking judicial notice was timely and in accordance with Rule 201.

       In sum, under the circumstances of this case, the Magistrate Judge

was correct to take judicial notice of Graham County having an open bear

season in 2011 given that he had the authority to do so sua sponte, and

given the uncontested information available to him about this fact. The

Defendant had the opportunity to be heard, and was heard, about the

propriety of the Magistrate Judge noticing this fact. The Defendant did not

contest the accuracy of the information Magistrate Judge Howell consulted

in his determination of Graham County’s 2011 bear season. The Court,

therefore, concludes that the Government met its burden of proof as to this

element of the offense charged in Count Seven of the Information.

Accordingly, the Court need not address the Defendant’s argument that the

Magistrate Judge erred in permitting the Government to reopen its case to

establish this fact. The Defendant’s first argument, therefore, is overruled.

II.    Sufficiency of the Evidence of a Violation of 36 C.F.R. § 261.8(a).

       Count Seven of the Information alleges that the Defendants placed

processed food products as bait in an area with an open season for taking

black bears and aided and abetted each other in doing so.                      The

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Government’s primary argument is that the Defendants placed the bait in

preparation for, and to further, their bear hunting activities.6 The Defendant

asserts that the Government charged the Defendant with a violation of 36

C.F.R. § 261.8(a) but “[t]here was not a scintilla of evidence presented by

the Government that the Defendant engaged in any of the … activities”

prohibited by that regulation. [Doc. 9 at 9]. As it pertains to hunting, the

Defendant contends “[t]here is absolutely no evidence that the Defendant

David Frank Crisp engaged in any pursuit, or search for animals for the

purpose of or means of capturing or killing them at the time of the alleged

State violation.” [Id.]. The Defendant was charged with aiding and abetting

the hunting of black bears by means of baiting, in violation of 18 U.S.C. §2,

36 C.F.R. §261.8(a), and N.C. Gen. Stat. §113-294(r).                      Defendant’s

argument is grounded on a very narrow definition of hunting (and ignores

Defendant’s aiding and abetting).

      As set forth above and as cited by the Defendant in his brief, hunting

under North Carolina law is defined quite expansively. To “hunt” is defined

as “[t]o take wild animals or wild birds.” N.C. Gen. Stat. § 113-130(5a). “To

take,” in turn, is defined in North Carolina as “[a]ll operations during,


6 The Government’s secondary argument is that the Defendants placed the bait to
“molest” the bears. Given its resolution of this part of the Defendant’s appeal, the Court
need not address the Government’s secondary “molestation” argument.
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immediately preparatory, and immediately subsequent to an attempt,

whether successful or not, to capture, kill, pursue, hunt, or otherwise harm

or reduce to possession any fisheries resources or wildlife resources.” Id.

(7).

        In this matter, there is no question that Chad Crisp was engaged in

hunting, as defined by North Carolina law, on August 31, 2011. Such hunting

was unlawful because it was done with the aid of bait. Taking wildlife in North

Carolina includes all of a hunter’s acts while undertaking to kill wildlife, but

also includes those acts in preparation for such undertaking. The

Defendant knowingly aided and abetted in such preparation. The Defendant

asserts that the statute requires the Defendant’s actions be “immediately

preparatory” and that Chad Crisp’s killing of a bear eight days later at the bait

site fell outside the timeframe of what could be considered “immediate” as

that term is defined in Black’s Law Dictionary. [Doc. 9 at 10]. Defendant’s

reliance on Black’s Law Dictionary is misplaced. The word “immediate” must

be placed in the context of the activities giving rise to the violation. The

gravamen of the baiting offense is the hunter’s ability to obtain an unfair

advantage over his prey by luring it to a specific location using attractive

foodstuffs not otherwise available in the wild. The bait, in this case chocolate

waste, would appeal first to a bear’s sense of smell which would draw it to

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the barrel to feed. How quickly or “immediately” a bear might be lured to the

bait barrel would depend upon several factors, for example wind speed, wind

direction, the proximity of bears, and the speed with which bears travel in

search of food. The Defendant and Chad Crisp clearly understood that, upon

the filling of the bait barrel, bears would not arrive in an “instant” or “without

delay” as the Defendant urges the Court to adopt as the standard for

“immediate.” To be sure, the Defendants knew the bait would take some time

to have the intended effect. It is for this reason that Chad Crisp rigged the

cover of the bait barrel to transmit a radio a signal when the cover was

disturbed. He sought to obviate his need to wait near the barrel for days

before a bear would arrive.

       The Defendant was convicted of aiding and abetting Chad Crisp’s

hunting because Defendant piloted the boat carrying Chad Crisp to and from

the bait site knowing that Chad Crisp was going to “reload” the barrel with a

substance the Defendant had stated he knew to be bear bait. All of the

Defendant’s conduct in this regard encompassed hunting7 under North


7 The Defendant never raised the argument that Count Seven failed to allege an essential

element of the offense, that is, the specific unlawful state-defined activity, (“hunt, or trap,
… or catch, or molest,” etc.) for which the baiting was preparatory. The violation of any
state or federal law must necessarily be keyed to a specific alleged activity pursued under
the regulation. United States v. Patzer, 15 F.3d 934, 939 (10th Cir. 1993) (section
261.8(a), means that hunting is prohibited to the extent a federal or state hunting law is
violated). The Defendant has waived this issue. Had the Defendant raised the issue for

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Carolina law as such conduct was activity geared toward luring bears to the

bait site to be killed. As such, it clearly satisfied the statutory requirement of

any “operations … immediately preparatory … to an attempt, whether

successful or not … to capture, kill, pursue, hunt, or otherwise harm or

reduce to possession any … wildlife resources.” The Defendant’s second

argument is therefore overruled.

III.    The Admissibility of Certain Evidence.

        The Defendant contends, in his third argument, the Magistrate Judge

erred in admitting two hearsay statements: “(1) one made by Chad Crisp to

a third-party named Owen and Owen’s response made during the trip back

to the dock; and (2) one allegedly made by the Defendant David Frank Crisp

and heard by Officer Webb.” [Doc. 9 at 12].




the first time on appeal to this Court, however, a post-verdict challenge to the sufficiency
of a charging document imposes a substantial burden upon a defendant. “When a post-
verdict challenge to the sufficiency of an indictment is made, every intendment is then
indulged in support of sufficiency. The question then is only whether the necessary facts
appear in any form, or by a fair construction can be found within its terms. Where the
post-verdict challenge to the indictment relates to the absence of an element, the
indictment will be held sufficient if it contains words of similar import.” United States v.
Vogt, 910 F.2d 1184, 1201 (4th Cir. 1990) (internal citations and quotations omitted). The
Information contains “words of similar import” to hunting. All of the other counts contained
within the Information that alleged a violation of § 261.8(a) state “hunting” as the activity
pursued. See, Information, Counts Four through Six; Counts Eight through Seventeen.
[Doc. 1 at 2-8]. Further, “a fair construction” of Count Seven put the Defendant on notice
that he was aiding and abetting Chad Crisp’s illegal hunting as that Count stated the
placing of bait was in an area with an open season “for taking bears.” [Id. at 4].
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      During Defendant’s trial, Webb testified that when he, Chad Crisp, and

the Defendant were on their return voyage from filling the bait barrel, their

boat crossed paths with an individual known to Chad Crisp as “Owen.” [Doc.

9-1 at 34 to 38]. Webb testified as follows:

      Q. Did Owen ask Chad anything?
      A. He asked if we put any bait -- bear bait out.
      Q. What, if anything, did Chad reply?
      A. He said that it was empty and we reloaded it.
      Q. Okay. After the conversation with this Owen fellow ended, did
      you-all get back to the dock?
      A. Yes.


[Id. at 38 to 39]. Defendant objected to this testimony arguing, “[i]t is straight

up hearsay, Your Honor.” [Id. at 35]. Magistrate Judge Howell allowed the

admission of this testimony into evidence as a present sense impression

under Rule 803(1) of the Federal Rules of Evidence. [Id. at 38].

      Hearsay is “a statement that: (1) the declarant does not make while

testifying at the current trial or hearing; and (2) a party offers in evidence to

prove the truth of the matter asserted in the statement.” Fed.R.Evid. 801(c).

In order to determine whether an out-of-court statement qualifies as

inadmissible hearsay under this Rule, the trial court must “identify [ ] the

actual purpose for which a party is introducing” the statement at issue.

United States v. Gonzales–Flores, 701 F.3d 112, 117 (4th Cir. 2012). A

statement is not hearsay if it is offered for some purpose other than to prove
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the truth of the assertion contained within the statement. United States v.

Pratt, 239 F.3d 640, 644 (4th Cir. 2001).

     In this case, the Government did not offer this testimony as proof that

Webb and Chad Crisp had, in fact, refilled the bait barrel with chocolate

waste; Webb had previously testified to that fact based upon his own

participation and first-hand knowledge. As the Government pointed out, the

purpose of introducing this testimony was to show that the Defendant had

been informed that the bear bait had been placed (i.e. for notice), and based

on the Defendant’s failure to react in an alarmed, antagonistic, or any other

manner, the finder of fact could infer the Defendant was a knowledgeable

and willing participant in Chad Crisp’s illegal baiting endeavor. For this

reason Webb’s testimony was not offered for a hearsay purpose. While the

Magistrate Judge admitted this testimony on a different basis, such

admission was not erroneous.

     The Defendant’s second argument concerning what he contends to be

inadmissible hearsay surrounds a statement Webb testified the Defendant

made at the boat dock before the men traveled to refill the bait barrel. After

filling a 5-gallon bucket with chocolate waste at Chad Crisp’s house, Webb

put the bucket in the back of his truck and he and Chad Crisp drove down to

the boat dock located behind Chad Crisp’s home. [Doc. 9-1 at 22]. Webb

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took the bucket from his truck and carried it to the boat dock where he set it

down. [Id.]. The Defendant then arrived at the dock with his dog, “Cowboy.”

As the Defendant and his dog walked past the bucket filled with chocolate

waste, Webb testified that the Defendant said, “There’s you some bear bait,

Cowboy.” [Id. at 22-23]. At trial, the Defendant objected to the admission of

this testimony.

       The Defendant objects to this testimony on appeal because it was

uncorroborated.8 [Doc. 9 at 15]. At the time Defendant made this statement,

Webb was carrying covert audio equipment on his person and it failed to

record the Defendant’s statement. [Doc. 9 at 15]. During Defendant’s cross-

examination of Webb, the Defendant asked Webb to play that portion of the

Government’s soundtrack that allegedly recorded what was said on the

Defendant’s boat dock prior to the men departing in the Defendant’s pontoon

boat. [Doc. 9-1 at 91]. After playing the appropriate audio clip, Webb

conceded that the statement he testified the Defendant made in his presence

about the bucket of bait was not captured by his recording device. [Id. at 92].

Accordingly,      the   Defendant       asserts    in    this   appeal     that   Webb’s



8 Defendant did not object to this testimony at trial. [Doc. 9-1 at 22-23]. Defendant also

implies on appeal that he may be raising a hearsay objection regarding this testimony,
[Doc. 9 at 12], but this is clearly an admission of a party opponent and thus is not hearsay
per Rule 801.

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“uncorroborated statement is an insufficient basis for convicting the

Defendant[.]” [Doc. 9 at 15].

      The Defendant’s contention, so framed, questions the credibility

determination made by the Magistrate Judge. “The problem here is unlike

that which arises when the prosecution rests upon indirect or circumstantial

evidence and the contention is made that the evidence does not fairly justify

an inference of guilt.” United States v. Shipp, 409 F.2d 33, 36 (4th Cir. 1960).

In the proceedings below, Magistrate Judge Howell heard Webb’s testimony

which, if believed, plainly furnished a sufficient ground for finding guilt beyond

a reasonable doubt. “We have repeatedly stated that the triers of fact are to

determine credibility.” Id. (footnote omitted). Further, the trial judge, unlike

a jury, is vested with broader power. “Even when there has been substantial

evidence which required him to submit the case to the jury, he may in his

discretion set the verdict aside and grant a new trial if he thinks the verdict is

against the weight of the evidence, and it is his duty to do so if he is

convinced that permitting the verdict to stand would result in a miscarriage

of justice.” Id. at 36-37. The Magistrate Judge credited Webb’s testimony.

Given the Magistrate Judge’s opportunity to hear and observe the witnesses

at trial, and given the evidence as a whole presented by the Government to

substantiate the Defendant’s guilt, the Court will not disturb the Magistrate

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Judge’s credibility determinations. For these reasons the Defendant’s third

argument regarding the Magistrate Judge’s evidentiary decisions is

overruled.

IV.    The Assertion of the Right to Trial by Jury.

       The Defendant contends, in his final argument, that the Magistrate

Judge committed reversible error by denying him a trial by jury on each of

the two counts alleged against him in the Information.           The Defendant

concedes, however, that binding precedent exists directly contrary to his

position:

       While the United States Supreme Court in Lewis v. United States
       518 U.S. 322, 116 S. Ct. 2163, 135 L.Ed.2d 590 (1996) held that
       a right to a jury trial for multiple petty offenses under a single
       indictment does not give rise to a Constitutional protection for a
       trial by jury, the Defendant maintains that this is an improper
       reading of Article VI and therefore asserts his Constitutional right
       to a jury trial under the plain language of the Constitutional
       Amendment seeking a review of the Supreme Court of its
       decision.

[Doc. 9 at 16]. While acknowledging that the Defendant has preserved this

issue for further review, this Court is duty-bound to follow the Supreme

Court’s precedent in Lewis and overrule the Defendant’s argument on this

final issue.




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                                   ORDER

     IT IS, THEREFORE, ORDERED that Appellant David Frank Crisp’s

conviction on Count Seven of the Information is hereby AFFIRMED.

     IT IS SO ORDERED.


                             Signed: November 17, 2015




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